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                                IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA AT ANCHORAGE

PETRO STAR INC.,                               )
                                               )
                   Plaintiff,                  )
                                               )
v.                                             )
                                               )
BP OIL SUPPLY CO., BP PRODUCTS                 )
NORTH AMERICA INC.,                            )
                                               )
                   Defendants                  )    Case No. 3:11-cv-00064 RRB
                                               )


                                          NOTICE OF APPEAL




NOTICE OF APPEAL
Petro Star v. BP Oil Supply Co., et al.
Case No. 3:11-cv-00064 RRB
4343543v1/011100
          Case     3:11-cv-00064-RRB Document 213 Filed 06/07/16 Page 1 of 3
         Notice is hereby given that Petro Star Inc., plaintiff in the above named case Petro Star v.

BP Oil Supply Co., BP Products North America Inc., hereby appeals to the United States Court

of Appeals for the Ninth Circuit from the Findings of Fact, Conclusions of Law, and Order

entered in this action on May 9, 2016 (dkt. 199) and Judgment entered on May 10, 2016 (dkt.

200).



DATED: June 7, 2016.

                                           SUSMAN GODFREY L.L.P.
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This is to certify that a true copy of the
foregoing was served electronically
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